     Case 3:22-cv-01715-FLW-RLS Document 1 Filed 03/28/22 Page 1 of 16 PageID: 1

CELEBRATING                                                          JOSEPH L. BASRALIAN +               CHRISTINE R. SMITH
                                                                     ROBERT M. JACOBS                    MARLA WOLFE TAUS -e

niiiiiiiii
YEARS WINNE BANTA
                                                                     GARYS. REDISH +
                                                                     RICHARD R. KAHN +
                                                                                                         DORIS BRANDSTATTER
                                                                                                         FAITH E. MIROS + *
                                                                     KENNETH K. LEHN /                   MARLEY A. GUERRERA+*

 H!l BASRALIAN & KAHN                                                STANLEY TURtTZ
                                                                     ARTHUR I. GOLDBERG +
                                                                     RONALD M. ABRAMSON
                                                                                                         BOGDANA. KACHUR +
                                                                                                         IVETTE M, VARGAS
                                                                                                         DREWRUZANSKt
                                        COUNSELLORS AT LAW
                                                                     MARTIN J. DEVER, JR. -e *           DEMETRIAM. BOGOSIAN
                                                                     PETER J. BAKARiCH, JR. +
                                                                     THOMAS J. CANGIALOSI, JR. -e
     MAILING ADDRESS:                                                CAROLYN GERACI FROME                ROBERT J. KLEEBLATT
COURT PLAZA SOUTH - EAST WING               NEW YORK OFFICE          BRUCE R. ROSENBERG                  JARED L. GURFEIN -t-
                                         488 MADISON AVENUE          JONATHAN KUKIN-E                    ROMAN VACCARI p
   21 MAIN STREET, SUITE 101                                         RICHARD D.WOLLOCH -e
                                         I?'” FLOOR - SUITE 1700                                         ALICE B. NEWMAN -f a
          P.O. BOX 647                 NEW YORK, NEW YORK 10022      MICHAEL G.STINGONE p                FRANKJ. FRANZINO, JR. -f
HACKENSACK, NEW JERSEY 07601-0647              (212) 324-0169        DENNIS G.HARRAKA /x                 COUNSEL TO THE FIRM
                                                                     R.N. TENDAI RICHARDS
                                                                     IAN S. KLEEBLATT
    TELEPHONE (201) 487-3800                                         MICHAEL J. COHEN -e /               f CERTIFIED BY THE SUPREME COURT
                                            FLORIDA OFFICE                                                   OF NEW JERSEY AS A CIVIL TRIAL
     FACSIMILE (201) 487-8529             2255 GLADES ROAD                                                   ATTORNEY

                                           SUITE 324 ATRIUM          ROBERTA. HETHERINGTON III (RET)
                                                                                                         +   MEMBER NEW YORK BAR ALSO

                                       BOCA RATON, FLORIDA 33431                                         *   MEMBER CONNECTICUT BAR ALSO
                                                                     WALTER G. WINNE (1889-1972)
                                                                                                         p   MEMBER PENNSYLVANIA BAR ALSO
                                                                     HORACE F. BANTA (1895-1985)
                                                                                                         B   MEMBER FLORIDA BAR ALSO
                                                                     BRUCE F. BANTA (1932-1983)
                                                                                                         (I MEMBER WASHINGTON. D.C. BAR
                                        www.winnebanta.com           PETER G. BANTA(1935-2016)
                                                                                                         X   fl. 1:40 QUALIFIED MEDIATOR
                                                                     MATTHEW COHEN (1943-2018)




                                                                   Email address: cfrome@winnebanta.com
                                                                   Direct Dial:   (201) 562-1060
 March 28,       2022

 VIA ELECTRONIC FILING
 William T. Walsh, Clerk
 United States District Court
 District of New Jersey
 M.L. King Federal Building and Courthouse
 50 Walnut Street
 Newark, New Jersey 07101

         Re;     Arands v. United Airlines, Inc., et al.
                 Docket No. OCN-L-2554-21


 Dear Mr. Walsh:

 This office represents                defendant.           United       Airlines,                     Inc.,          in         the
 above-referenced matter.

 Enclosed for filing please find said defendant's Notice of Removal,
 together with an Application for a Clerk's Extension pursuant to Local
 Civil Rule 6.1.    Also enclosed IS an extra copy of all process,
 pleadings, and Orders served upon the defendant in this action and the
 Civil Cover Sheet. Please electronically return a filed copy of the
 within documents to the undersigned.

 The $402.00 filing fee is to be charged to the firm credit card, which
 number has been entered at the time of filing.



 #633488vl * 00983-00448
                                Ser\’ing Our Clients Since J 922
                    Case 3:22-cv-01715-FLW-RLS Document 1 Filed 03/28/22 Page 2 of 16 PageID: 2
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jiFiinn

 YEARS'             WINNE BANTA
            1 BASRALIAN & KAHN
                                 COUNBELLOPS AT LAW




            William T. Walsh, Clerk
            March 28, 2022
            Page I 2

             Thank you for your assistance in this matter.

                                                                5j.y truly
                                                              Very   LJ_uj_y yours
                                                                             yocLLt),   »

                                                                                            'VVU2,
                                                                lROLYN ^eraci frome
                                                              CAROLYN
            CGF/lh
            encl.
            cc; James C. Jensen, Esq.                 (w/encl.)(Via Lawyers Service)




           #633488vl * 00983-00448
Case 3:22-cv-01715-FLW-RLS Document 1 Filed 03/28/22 Page 3 of 16 PageID: 3



Carolyn Geraci Frome, Esq.
WINNE, BANTA, BASRALIAN & KAHN, P.C.
Court Plaza South
21 Main Street, Suite 101
Hackensack, New Jersey 07601
 (201) 487-3800
Attorneys for Defendant,
United Airlines, Inc.

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                                         Civil Action No.
 LUZ STELLA ARANDS,

                           Plaintiff,
                                                           NOTICE OF REMOVAL
     vs

 UNITED AIRLINES, JOHN DOES 1-
 10, ABC CORP. 1-10,

                            Defendant.



          Defendant, United Airlines,                 Inc. ,   (hereinafter referred to as

"United") hereby files this Notice of Removal of the above-entitled

action to the United States District Court, for the District of New

Jersey,        from the Superior Court of New Jersey where the action is

now pending,        as provided by Title 28,                   U.S. Code,   Chapter 89,      and

states:

          1.    United is the only non-fictitious defendant named in the

above-entitled action.

          2.    The above-entitled action was commenced in the Superior

Court of New Jersey, Law Division, Ocean County, and is now pending

in   that      Court      under   Docket    No.        OCN-L-2554-21.         Copies    of   the

Summons        and Complaint       (which    documents           constitute    all     process.

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                                                  1
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pleadings,         and orders       served upon United)          are attached to             this

Notice       as    Exhibit    "A".      Although       the    Complaint        was    filed    on

October 1,         2021,    the Summons and Complaint were not served upon

United until March            11,    2022,    via United's       registered agent.             CT

Corporation System.            A copy of the Service of Process Transmittal

from CT Corporation System is annexed as Exhibit "B".

        3.        A copy of the plaintiff's Complaint,                 setting forth the

claims       for    relief    upon    which    the     action    is    based.        was    first

received by United on March 11,                    2022.     This was said defendant's

first notice of the subject action.

        4.        The United States District Court for the District of New

Jersey is by law given jurisdiction of the suit.

        5.        United is now, and was at the time that the state action

was commenced.            a corporation incorporated under the laws of the

State of Delaware,            with its principal place of business                         in the

State of Illinois.             Plaintiff is a citizen of the State of New

Jersey. Although plaintiff filed suit in Ocean County, it should be

noted that plaintiff resides in Morris County, New Jersey, and that

the    subject      incident.       which    alleged       occurred on     a    flight       from

Newark,      New    Jersey to Bogota,          Colombia,       has    no   nexus      to    Ocean

County.

       6.     Through her Complaint, plaintiff asserts claims for severe

and permanent injuries while aboard United Airlines Flight 1068 on

October 2, 2019, when she allegedly fell and was "thrown about the

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                                               2
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airplane."       (Exhibit A, First Count, S[51,4,7 Complaint).              Plaintiff

further claims that as a result of the subject incident,                     she was

caused "great pain and suffering, was forced to seek medical aid

and attention, was prevented from attending to usual activities and

has been left with injuries that will require medical treatment."

(Exhibit    A,    First   Count   17,   Complaint).      As     such.   there      is   a

substantial probability that the amount in controversy potentially

exceeds $75,000, exclusive of interest and costs.

     7.      Based upon the foregoing,          this    Court has       jurisdiction

over this    action pursuant to         28 U.S.C.      §1332,    in that complete

diversity    of    citizenship    exists     between    the     plaintiff    and    the

defendant, and there is a substantial probability that the amount

in controversy potentially exceeds the sum or value of $75,000.00,

exclusive of interest and costs.

     8.      United will give written notice of the filing of this

Notice,   as required by 28 U.S.C. §1446(d).

     9.      A copy of this notice will be filed with the Clerk of the

Superior Court of New Jersey, as required by 28 U.S.C. §1446(d).

     WHEREFORE, defendant. United Airlines,               Inc., requests that




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this action proceed in this Court as an action properly removed to

it.

                            WINNE, BANTA, BASRALIAN & KAHN, P.C.
                            Attorneys for Defendant,
                            United Airlines, Inc.


                            By:                   xy,
                                  CAROLYN          FROME


Dated: March 28, 2022




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                             CERTIFICATION OF SERVICE

       I hereby certify that a copy of this Notice of Removal has

been    served,    via   electronic        mail,   upon   Clerk,     United   States

District Court, District of New Jersey, M.L. King Federal Building

and Courthouse,      50 Walnut Street,         Newark,    New Jersey 07101;      and.

via    Lawyers    Service,    upon Clerk,       Superior Court       of New Jersey,

Ocean County,       Law Division,     120      Hooper Avenue,      Toms River,    New

Jersey 08753; and, via Lawyers Service, upon James C. Jensen, Esq.,

Laufer, Dalena, Jensen, Bradley & Doran, L.L.C., 23 Cattano Avenue

at Chancery Square,          Morristown,    New Jersey,     07960,    attorneys for

plaintiff.




                                                      IkROLYN (^^^CI FROME
                                                     CAROLYN

Dated: March 28, 2022




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                   EXHIBIT                        M
%   Case 3:22-cv-01715-FLW-RLS Document 1 Filed 03/28/22 Page 9 of 16 PageID: 9




            James C. Jensen, Esquire
            Attorney ID Number: 026421985
            LAUFER, DALENA, JENSEN, BRADLEY fie DORAN, L.L.C.
            23 Cattano Avenue at Chancery Square
            Morristown, New Jersey 07960
            Tel: 973)285-1444
            Fax: (973)285-0271
            Attorneys for Plaintiff


                                                            SUPERIOR COURT OF NEW JERSEY
              LUZ STELLA ARANDS,                            LAW DIVISION
                                                            OCEAN COUNTY
                                      Plaintiff,
                                                                 DOCKET NO. OCN-L-2554-21
                                                                                                                 I
                                      vs.
                                                                        Civil Action                             I
              UNTITED AIRLINES, JOHN DOES I -10,
              ABC CORP. 1-10,                                           SUMMONS

                                      Defendant.




            The State of New Jersey, to the Above Named Defendant(s):

                    YOU ARE HEREBY SUMMONED in a Civil Action in the Superior Court of New Jersey,

            instituted by the above named plaintiff(s), and required to serve upon the attorney(s) for the
            plaintiff(s), whose name and office address appears above, an answer to the annexed complaint
            within thirty-five (35) days after the service of the summons and complaint upon you, exclusive of
            the day of service. Ifyou fail to answer, judgment by default may be rendered against you for the
            reliefdemanded in the complaint. You shall promptly file your answer and proofofservice thereof
            in duplicate with the Morris County Courthouse, Washington Court Streets, Morristown, New
            Jersey 07960, in accordance with the rules of civil practice and procedure.

                   If you cannot afford to pay an attorney, call a Legal Services Office. An individual not
            eligible for free legal assistance may obtain a referral to an attorney by calling a county lawyer
            referral service. These numbers may be listed in the yellow pages ofyour phone book or may be


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        obtained by calling the New Jersey State Bar Association Lawyer Referral Service tolLfree 1-800-

         792-8315 (within New Jersey) or 609-394-1101 (from out of State). The phone numbers for the

         county in which this action is pending are attached hereto.


         DATED:         March 9, 2022                 MicfieCk 9d. Smitfi/jv
                                                      MICHELLE M. SMITH, CLERK
                                                      Superior Court ofNew Jersey

        Name of Defendants to be served:              United Airlines
                                                      c/o CT Corporation System


        Address for Service:                          400 E Court Avenue
                                                      Des Moines, lA 50309



                                                                                                           I
                                                                                                           i




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        OCN-L-002554-21      10/01/2021 2:28:34 PM Pg 1 of 3 Trans ID; LCV20212290184




        James C. Jensen, Esquire                                                                              I

        Attorney ID Number: 026421985
        LAUFER, DALENA, JENSEN, BRADLEY & DORAN, L.L.C.
        23 Cattano Avenue at Chancery Square
        Morristown, New Jersey 07960
        Tel: 973) 285-1444
        Fax: (973) 285-0271
        Attorneys for Plaintiff


                                                      SUPERIOR COURT OF NEW JERSEY
         LUZ STELLA ARANDS,                           LAW DIVISION
                                                      OCEAN COUNTY
                                                                                                              •t
                                  Plaintiff,
                                                             DOCKET NO. FM-

                                  vs.
                                                                   Civil Action
         UNTITED AIRLINES, JOHN DOES 1-10,
         ABC CORP. 1-10,                              COMPLAINT AND JURY DEMAND

                                  Defendant,




               Plaintiff, Liiz Stella Aiands, residing at 206 Justin Court in the Township of Cedar Knolls,

        County of Morris, State of New Jersey, by way of complaint against the Defendants, United

        Airlines, John Does 1-10, ABC Corp. 1-10, hereby says;

                                                 FIRST COUNT

               1.      On or about October 2, 2019, Defendants, United Airlines, was a commercial

        airline company, who engaged in air transportation of passengers, for commercial profit. On or

        about October 2, 2019 Defendants owned, maintained, supeivised, ran, flew, designed, controlled,

        operated, and were otherwise responsible for flying passengers on an airplane controlled by United

        Airlines, on flight UA 1068.                                                                              f




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               2.      On or about October 2, 2019, Defendant, United Airlines, and/or ABC Corp,, and

        Jolin Does 1-10, were partners in or associated with the aforesaid entities and activities, and who

        were agents, servants and/or employees of any of tlie aforesaid defendants acting in the scope and

        couil of their employment.

               3,      At all times mentioned herein, Defendants had a duty to use reasonable care in the

        operation of their airline and airplanes, so that the flights would be reasonably safe for the public

        and other persons lawfully on the airplane and to maintain the airplane free of dangerous

        conditions capable of causing injuiy to those persons lawfully on the airplane.

                4.     On or about October 2, 2019, Plaintiff, Stella Luz Arands, was lawfully on the                 I
        airplane. Ms. Arands had paid a financial sum in order to be transported on United Airlines flight            I
                                                                                                                      I
        1068. In fact, on October 2,2019, the Plaintiff, Stella Luz Arands, was in a first-class seat which,
                                                                                                                      I
        according to United Airlines, was a safer and more comfortable airline experience. On or about

        October 2, 2019, Plaintiff was lawfully on the airplane, and was caused to be injured, by the

        negligence of the Defendants, in that the Defendants failed to maintain the airplane in control,              I


        failed to properly supervise the airplane, and failed to train personnel to properly operate the

        airplane, thus causing the Plaintiff to fall and be thrown about tire airplane, and causing injuries to

        the Plaintiff due to tire negligence of the Defendants.

               5.      It was reasonably foreseeable that such conditions could exist creating a hazardous

        and dangerous condition and the Defendants, personally and through tlreir agents, servants and

        employees, or in the exercise of reasonable cai'e, should have known of the aforesaid dangerous

        and hazardous conditions.

               6.      Defendants negligently, cai'elessly and/or recklessly designed, constructed.

        supervised, operated, owned, maintained, supervised, ran, flew, designed, controlled and/or

        operated their airline, so as to create and/or allow a dangerous condition to exist.
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                                                                                                                   I


                7,      As a direct and proximate result of the aforesaid negligence of the Defendants,            I
                                                                                                                   1
        Plaintiff was caused to sustain severe and permanent personal injuries, undergo great pain and

        suffering, was forced to seek medical aid and attention, was prevented from attending to usual

        activities and has been left with injuries that will require medical treatment.

                WHEREFORE, Plaintiff hereby demands judgment against all Defendants both jointly,

        severally, concurrently and individually for damages, interests, costs of suit, attorneys’ fees and

        such other relief that tire Coml may deem just and equitable,

                                                      JURY DEMAND

                Plaintiff hereby demands atrial by Jury as to all issues raised herein.

                                          TRIAL ATTORNEY DESIGNATION

                James C. Jensen, Esq. is hereby designated as trial counsel for the Plaintiff.

                                       CERTIFICATION PURSUANT TO R. 4:5-1
                                                                                                                       !
                The undersigned hereby certifies, upon information and belief, that the matter in

         controversy is not related to any other matter in litigation or arbitration at this time, that no other

         actions or arbitration proceeding is contemplated and that there are no other parties known at this
                                                                                                                       I

         time that should be joined in the within action.

                [ hereby certify that the foregoing statements made by me are true. 1 am aware that if any

         of the foregoing statements made by me are willfully false, I am subject to punislunent.
                                                                                                                       t
                                                       LAUFER, DALENA, JENSEN
                                                       BRADLEY & DORAN, LLC
                                                       Attorneys for Plaintiff
                                                                                                                       !


                                                       By
                                                                      C. Jensqjl, Esq
         Dated: October 1,2021


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                                                            3
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            OCN-L-002554-21            10/01/2021 2:28:34 PM Pg 1 of 1 Trans ID: LCV20212290184




                           Civil Case Information Statement
    Case Details: OCEAN 1 Civil Part Docket# L-002554-21

   Case Caption: ARANDS LUZ VS UNITED AIRLINES                      Case Type; PERSONAL INJURY
   Case Initiation Date; 10/01/2021                                 Document Type: Complaint with Jury Demand
   Attorney Name: GREGORY DAVID RICE BEHRINGER                      Jury Demand: YES -12 JURORS
   Firm Name; LAUFER DALENA, JENSEN. BRADLEY, &                     Is this a professional malpractice case? NO
   DORAN, LLC                                                       Related cases pending: NO
   Address: 23 CATTANO AVE                                          If yes, list docket numbers:
   MORRISTOWN NJ 07960                                              Do you anticipate adding any parties (arising out of same
   Phone: 9732851444                                                transaction or occurrence)? NO
   Name of Party: PLAINTIFF : Arands, Luz, S
   Name of Defendant's Primary Insurance Company                    Are sexual abuse claims alleged by: Luz S Arands? NO

   (if known): Unknown



         THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                         CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




   Do parties have a current, past, or recurrent relationship? NO

   If yes, IS that relationship:

   Does the statute governing this case provide for payment of fees by the losing party? NO

   Use this space to alert the court to any special case characteristics that may warrant individual
   management or accelerated disposition:



   Do you or your client need any disability accommodations? NO
           If yes, please Identify the requested accommodation:



   Will an interpreter be needed? NO
            If yes, for what language:


   Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




   I certify that confidential personal identifiers have been redacted from documents now submitted to the
   court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7{b)

   10/01/2021                                                                   /s/ GREGORY DAVID RICE BEHRINGER
   Dated                                                                                                   Signed
Case 3:22-cv-01715-FLW-RLS Document 1 Filed 03/28/22 Page 15 of 16 PageID: 15




                    EXHIBIT B
Case 3:22-cv-01715-FLW-RLS Document 1 Filed 03/28/22 Page 16 of 16 PageID: 16


     CT Corporation                                                                                       Service of Process
                                                                                                          Transmittal
                                                                                                          03/11/2022
                                                                                                          CT Log Number 541207371
     TO:          Maria Bustamante, Paralegal-Litigation
                  United Airlines, Inc.
                  609 MAIN STREET, 16TH FLOOR/HSCPZ
                  HOUSTON, TX 77002-3167


     RE:          Process Served in Iowa

     FOR:         United Airlines, Inc. (Domestic State: DE)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS;

     TITLE OF ACTION;                                  Re: LUZ STELLA ARANDS // To: United Airlines, Inc.

     DOCUMENT(S) SERVED:

     COURT/AGENCY:                                     None Specified
                                                       Case # OCNL00255421

     NATURE OF ACTION;                                 Medical Injury - Improper Care and Treatment
     ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Des Moines, lA
     DATE AND HOUR OF SERVICE;                         By Process Server on 03/11/2022 at 12:04
     JURISDICTION SERVED ;                             Iowa

     APPEARANCE OR ANSWER DUE:                         None Specified

     ATTORNEY(S) / SENDER(S);                          None Specified
     ACTION ITEMS:                                     CT has retained the current log. Retain Date: 03/11/2022, Expected Purge Date:
                                                       03/16/2022

                                                       Image SOP

                                                       Email Notification, Tom Campuzano thomas.d.campuzano@united.com

                                                       Email Notification, Maria Bustamante maria.bustamante@united.com


     REGISTERED AGENT ADDRESS;                         C T Corporation System
                                                       400 East Court Avenue
                                                       Des Moines, lA 50309
                                                       866-331-2303
                                                       CentralTeam1@wolterskluwer.com
     The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
     relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
     of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
     advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
     therein.




                                                                                                         Page 1 of 1 / DC
